                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION

 Spectrum Laboratories, LLC,                      )
                                                  )    Case No. 1:20-cv-2333-SO
              Plaintiff,                          )
                                                  )    Judge Solomon Oliver, Jr
                      vs.                         )
                                                  )
 513 Ventures LLC,                                )
                                                  )
                      Defendant.                  )

                            Declaration of Matthew J. Cavanagh, Esq.

          I, Matthew J. Cavanagh, Esq., do hereby declare and testify as follows:

          1.        I am an adult person and am competent to make this declaration. I make this

declaration based on my personal knowledge, and I could and would competently testify

to the following:

          2.        I am an attorney at the Cleveland, Ohio offices of McDonald Hopkins LLC. I

am counsel for plaintiff Spectrum Laboratories, LLC (“Spectrum”).

          3.        Attached hereto as Exhibit A is a true and correct copy of screen captures I

obtained from the reddit website (https://www.reddit.com/) on or around October 20,

2020.

          4.        Attached as Exhibit F to the Complaint in this case (ECF #1-6) was a true and

correct copy of a letter I sent via email to Brian O’Connell (bjoconnell@strausstroy.com)

on August 31, 2020.

          5.        Mr. O’Connell acknowledged receipt of this email. Attached as Exhibit G to

the Complaint in this case (ECF #1-7) was a true and correct copy of the response I received


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from Mr. O’Connell via email on or around September 9, 2020, which included a copy of a

declaratory judgment complaint that he filed on behalf of 513 Ventures.

         6.           Attached as Exhibit H to the Complaint in this case (ECF #1-8) was a true and

correct copy of screen captures of the following websites that are owned by 513 Ventures

(the “Infringing Websites”) that I obtained on or around October 7, 2020:

                  •   quickfixurine.com;
                  •   quickfixurineplus.com;
                  •   quickfixfakepee.com; and
                  •   quickfixsyntheticurine.com.

              .       On October     ,     , I ran a Google search for “quick ﬁx.” The Google search

results displayed            Ventures’ website quickﬁxurine.com ﬁrst, and ahead of Spectrum’s

urineluck.com website. Below are true screenshots from my Oct.              ,       Google search:




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              .       Attached as Exhibit B are true screenshots from one of the Infringing

Websites that I obtained on October            ,       , in which   Ventures misrepresents that

QUICK FIX products are “our formula.”

         9.           Attached as Exhibit C is a true screenshot of Quick Fix Urine’s Facebook

page that I obtained on or around October 20, 2020 from the address below. This page links

to one of the Infringing Websites and contains 513 Ventures’ contact information.

https://www.facebook.com/quickfixurine




         I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information and belief.


October           ,                                     /s/Matthew J. Cavanagh
                                                        Matthew J. Cavanagh



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